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Order Setting Conditions of Release (Modified 03/15/2023 UT)




                        United States District Court
                                                               DISTRICT OF UTAH


    UNITED STATES OF AMERICA                                                       ORDER SETTING
                               V.                                               CONDITIONS OF RELEASE
                  Braden John Karony

                                                                                 Case Number: 2:23mj1008-DAO


IT IS SO ORDERED that the release of the defendant is subject to the following conditions:

(1) The defendant must not commit any offense in violation of federal, state or local or tribal law while on release in
    this case.

(2) The defendant must immediately advise the court, defense counsel and the U.S. attorney in writing of any change
    in address and telephone number.

(3) The defendant must appear in court as required and must surrender for service of any sentence imposed.
           The defendant must next appear at (if blank, to be notified)                                       Enter text.
                                                                                                                PLACE

          Enter text.                                                                 on                      Enter text.
                                                                                                         DATE AND TIME



                                 Release on Personal Recognizance or Unsecured Bond

     IT IS FURTHER ORDERED that the defendant be released provided that:

(4) The defendant promises to appear in court as required and to surrender for service of any sentence imposed.

(5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

          Enter text.                                                             dollars   ($) Enter text.

     in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




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                                              Additional Conditions of Release
         Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant
and the safety of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the
conditions marked below:

    (6) The defendant must:

        ☐ (a) maintain or actively seek verifiable employment and/or maintain or commence an educational program as approved
              by the pretrial officer.
        ☒ (b) abide by the following restrictions on his/her personal associations, place of abode, or travel:
              ☒ (i) maintain residence in Miami, Florida and do not change without prior permission from the pretrial officer.
              ☒ (ii) not travel outside the state of Florida without prior permission from the pretrial officer.
              ☒ (iii) not travel outside the United States without prior permission from the Court.
        ☒ (c) avoid all contact, directly or indirectly codefendants (Kyle Nagy, Thomas Smith) in the investigation or prosecution.
        ☒ (d) report on a regular basis to the pretrial officer as directed. Immediately report to the pretrial officer any contact with
              law enforcement personnel, including arrests, questioning, or traffic stops.
        ☒ (e) not possess a firearm, ammunition, destructive device, or other dangerous weapon.
        ☐ (f) ☐ not use alcohol, ☐ not use alcohol to excess, ☐ not frequent establishments where alcohol is the main item of
              order.
        ☐ (g) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. §802 unless
              prescribed by a licensed medical practitioner. Prescriptions should be reported to the pretrial officer.
        ☐ (h) You shall not use, possess, or ingest products containing tetrahydrocannabinol (THC) or cannabidiol (CBD) in any
              form unless they are approved by the Food and Drug Administration and obtained from a pharmacy by prescription
              from a licensed medical professional. For purposes of this condition, an authorization for THC or CBD issued under
              the law of any state is not valid; a state-issued marijuana medical card is not a prescription; and a THC/CBD
              dispensary is not a pharmacy. You are not allowed under any circumstances to market any product containing THC
              or CBD.
        ☐ (i) submit to drug/alcohol testing as directed by the pretrial officer; defendant shall pay all or part of the cost of the drug
              testing:
              ☐ (1) if testing reveals illegal drug use, the defendant must participate in drug and/or alcohol abuse treatment, if
                        deemed advisable by the pretrial officer; defendant shall pay all or part of the cost of the program, based
                        upon your ability to pay as the pretrial officer determines.
              ☐ (2) if testing reveals illegal drug use, the court will be notified immediately, with further action to be
                        determined.
        ☐ (j) you must submit to Remote Alcohol Testing and abide by all of the program requirements for a period of * days.
              You must pay all or part of the costs of participation in the program as directed by the pretrial officer.
        ☐ (k) participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by
              the pretrial officer; defendant shall pay all or part of the cost of the program, based upon your ability to pay as the
              pretrial officer determines.
        ☐ (l) undergo mental health evaluation and complete any recommended treatment, as directed by the pretrial officer, and
              take any mental health medications as prescribed; defendant shall pay all or part of the cost of the program, based
              upon your ability to pay as the pretrial officer determines.
        ☐ (m) surrender any passport to the United States Clerk of the Court, District of Utah.
        ☒ (n) not obtain or apply for passport.
        ☐ (o) not incur new credit charges or open additional lines of credit without prior permission from the pretrial officer.
        ☐ (p) not be employed in any fiduciary capacity or any position allowing access to credit or personal information of
              others.
        ☐ (q) not view, access or possess any sexually explicit materials.
        ☐ (r) not have contact with individuals under 18 years of age without the supervision of an adult who is previously
              approved by the Court or pretrial officer.
        ☒ (s) participate in one of the following location restriction program components and abide by its requirements as the
              pretrial officer instructs. Pay all or part of the cost of location monitoring based upon your ability to pay as
              determined by the pretrial officer. No overnight travel without Court approval.
              ☐ (i) Curfew. You are restricted to your residence every day (Enter) from Enter to Enter or ☐ as directed by
                        the pretrial officer; or

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              ☒ (ii) Home Detention. You are restricted to your residence at all times except for employment, education,
                        religious services, medical, substance abuse or mental health treatment, attorney visits, court appearances,
                        court-ordered obligations, or other activities preapproved by the pretrial officer; or
              ☐ (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down except for medical necessities and
                        court appearances or other activities specifically approved by the Court.
               ☐ (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration
                        restrictions. However, you must comply with the location or travel restrictions as imposed by the court.
                        Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS)
                        technology.
        ☒ (t) submit to the following location monitoring technology and comply with its requirements as directed:
              ☐ (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
              ☐ (ii) Radio Frequency (RF);
              X (iii) Global Positioning Satellite (GPS);
              ☐ (iv) Voice Recognition Monitoring (requires analog phone service at approved residence at participant’s
                   expense);
              ☐ (v) Virtual Monitoring Application (requires smartphone with location services and push notification features
                   enabled at participant’s expense).
        ☒ (u) submit person, residence, office, or vehicle to a search, conducted by the pretrial officer at a reasonable time and in a
              reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
              release; failure to submit to a search may be grounds for revocation; the defendant will warn any other residents that
              the premises may be subject to searches pursuant to this condition.
        ☒ (v) participate in the United States Probation and Pretrial Services Office Computer and Internet Monitoring Program
              under a ☒ co-payment plan or ☐ non-co-payment plan, and will comply with the provisions outlined in:
              ☒ (i) Appendix A - Limited Internet Access (Computer and internet use, as approved);
              ☐ (ii) Appendix B - Restricted Internet Access (Computer access only, as approved);
              ☐ (iii) Appendix C - Restricted Computer Access (No computer or internet access except for approved
                        employment).

                 All computers, internet accessible devices, media storage devices, and digital media accessible to the defendant are
                 subject to manual inspection/search, configuration, and the installation of monitoring software and/or hardware.

                 The defendant must submit person, residence, office, or vehicle to a search, conducted by the pretrial officer at a
                 reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
                 violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant will
                 warn any other residents that all computers, internet accessible devices, media storage devices, and digital media
                 may be subject to searches pursuant to this condition.

        ☐ (w) execute a bond or an agreement to forfeit upon failing to appear as required, the following sum of money or
              designated property.
        ☐ (x) post with the court the following indicia of ownership of the above-described property, or the following amount or
              percentage of the above-described money:
        ☐ (y) execute a bail bond with solvent sureties in the amount of $ Enter text.
        ☐ (z) be placed in the custody of a third party, who agrees (a) to supervise the defendant in accordance with all the
              conditions of release, (b) to use every effort to assure the appearance of the defendant at all scheduled court
              proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of release or
              disappears.

                 Name of person or organization
                 Address
                 City and state  (Tel no.)

                                                                 Signed:__________________________________________________
                                                                                                                    Custodian or Proxy
☐       (7)      The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
                 42 U.S.C. § 14135a.
☐       (8)      Attend Pretrial Pathways Program as directed by Pretrial Services.
☒       (9)      Additional conditions: 1. This court authorizes the Eastern District of New York to modify any conditions as they
deem necessary. 2. No access to crypto currency or digital currency asset exchange or trading platforms. 3. Not to use of possess any

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digital currency, wallets, digital assets, or digital tokens. 4. Must not engaged in the purchase or sale of any digital currency. 5. Must
not transfer any convertible vitrail currency or direct other to do so on his behalf. 6. Shall not engage in any investment promotional
activities. 7. Must disclose all financial accounts to pretrial services. 8. Bond is ordered in the amount of $500,000, which shall be
secured by collateral.

                                               Advice of Penalties and Sanctions

TO THE DEFENDANT:

         YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

         A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.
         The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor. This sentence will be in addition to any other sentence.
         Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to obstruct a
criminal investigation. It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to tamper with a
witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to
intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted
of:
         (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you will be
                fined not more than $250,000 or imprisoned for not more than 10 years, or both;
         (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you will be fined
                not more than $250,000 or imprisoned for not more than five years, or both;
         (3) any other felony, you will be fined not more than $250,000 or imprisoned not more than two years, or both;
         (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

         A term of imprisonment imposed for failure to appear or surrender must be in addition to the sentence for any other offense.
In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                 Acknowledgment of Defendant
         I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed and to surrender for service of any sentence imposed. I am aware of the penalties and
sanctions set forth above.

                                                                                ______________________________________________
                                                                                              Signature of Defendant


                                                                                ______________________________________________
                                                                                                 City and State




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Directions to the United States Marshal

☒     The defendant is ORDERED released on November 9, 2023 from the courthouse at 2:00 pm.
☐     The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
      defendant has posted bond and/or complied with all other conditions for release. The defendant must be produced before the
      appropriate judicial officer at the time and place specified, if still in custody.


Date: November 8, 2023                                                      ______________________________________________
                                                                                        Signature of Judicial Officer



                                                                                       Magistrate Judge Daphne A. Oberg
                                                                                       Name and Title of Judicial Officer




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